      Case 3:05-cr-00019-JCH       Document 176        Filed 07/07/09   Page 1 of 2




                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                 :
                                         :      CIVIL ACTION NO.
v.                                       :      05-cr-0019 (JCH)
                                         :
IGOR MALYAR                              :
                                         :      JULY 2, 2009

            RULING re: MOTION TO REDUCE SENTENCE (Doc. No. 175)

I.    INTRODUCTION

      On December 15, 2005, Igor Malyar waived his right to indictment and entered a

guilty plea to a two-count information to one count of Conspiracy to Commit Mail Fraud,

Securities Fraud, and Money Laundering in violation of 18 U.S.C. § 371 and one count

of Securities Fraud in violation of 15 U.S.C. §§ 77q(a) and 77x. Malyar was sentenced

to 60 months of incarceration followed by 36 months of supervised release on May 6,

2008. On June 25, 2009, Malyar filed a motion to reduce his sentence with the court.

For the reasons stated below, this motion is denied.

II.   ANALYSIS

      Once a term of imprisonment has been imposed, a court may modify that

sentence only under certain conditions. Those conditions are: (1) if the Director of the

Bureau of Prisons makes a motion to reduce the sentence; (2) if a defendant was

sentenced using a guidelines range that the Sentencing Commission subsequently

lowered; or (3) pursuant to the conditions laid out in Fed. R. Civ. P. 35. 18 U.S.C. §

3582(c). Rule 35 permits a court to correct a sentence that resulted from arithmetical,

technical, or clear error within seven days of the sentencing. Fed. R. Civ. P. 35(a).

Rule 35 also permits a reduction of sentence upon the government’s motion (within one
      Case 3:05-cr-00019-JCH       Document 176        Filed 07/07/09   Page 2 of 2




year of sentencing) if the defendant provided substantial assistance in another

investigation or prosecution. Fed. R. Civ. P. 35(b).

      Malyar’s Motion meets none of these conditions. Neither the government nor the

Bureau of Prisons made the Motion. The Motion was made far more than seven days

after the sentencing. Finally, Malyar does not contend that his sentence should be

changed because of a revision in the Sentencing Guidelines. Because Malyar has not

met any of the conditions under which a court may reduce a sentence, his motion is

DENIED.

SO ORDERED.

      Dated at Bridgeport, Connecticut this 2nd day of July, 2009.



                                          /s/ Janet C. Hall
                                         Janet C. Hall
                                         United States District Judge
